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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

NICOLAS TALBOTT et al.,                          )
                                                 )
        Plaintiffs,                              )
                                                 )
v.                                               )    Civil Action No. 1:25-cv-00240-ACR
                                                 )
UNITED STATES OF AMERICA et al.,                 )
                                                 )
        Defendants.                              )
                                                 )

     INDEX OF EXHIBITS TO DECLARATION OF MARTHA SOPER IN SUPPORT OF
       PLAINTISS’ RENEWED APPLICATION FOR PRELIMINARY INJUNCTION

       Exhibit A      Department of Defense Instruction 1332.14, Enlisted Administrative
                      Separations

       Exhibit B      Department of Defense Instruction 1332.30, Commissioned Officer
                      Administrative Separations

       Exhibit C      Department of Defense Instruction 1332.18, Disability Evaluation
                      System
